                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 PDV USA, Inc.

                    Plaintiff,

 v.                                                        No. 20-cv-03699-JGK

 Interamerican Consulting, Inc.                            ANSWER AND DEFENSES TO
                                                           AMENDED COMPLAINT AND
                    Defendant.                             COUNTERCLAIM AND DEMAND
                                                           FOR JURY TRIAL

       Defendant, Interamerican Consulting, Inc. (“Interamerican” or “Defendant”), answers and

asserts to defenses to the Amended Complaint, and further counterclaims, as follows:

                                            ANSWER

                           AS TO “THE NATURE OF THE CASE”

       1.      Interamerican admits that on March 21, 2017, PDV USA, Inc. and Interamerican

entered into the referenced Agreement, but denies Plaintiff’s characterization of the Agreement

       2.      Interamerican denies having knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in Paragraph 2 of the Amended Complaint.

       3.      Interamerican denies having knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in Paragraph 3 of the Amended Complaint, including the

characterization of actions by the United States government, the Venezuelan government, and the

Delaware Court of Chancery, which speak for themselves.

       4.      Interamerican denies Paragraph 4 of the Amended Complaint to the extent it alters,

varies, or contradicts the terms of the Agreement. Interamerican further denies the characterization

of the purpose of the Agreement.
       5.      Interamerican denies Paragraph 5 of the Amended Complaint to the extent it alters,

varies, or contradicts the terms of the Agreement. Interamerican further denies breaching the

Agreement, and affirmatively states that it complied with the reporting requirements under the

Agreement.

       6.      Interamerican denies Paragraph 6 of the Amended Complaint. Interamerican

further denies the characterization of any alleged statements attributed to David Rivera and the

attribution of “credulity,” or the lack thereof, as alleged in Paragraph 6.

       7.      Interamerican denies Paragraph 7 of the Amended Complaint.           Interamerican

further denies making any “claims” inconsistent with progress reports and denies breaching the

Agreement as alleged.

       8.      Interamerican denies Paragraph 8 of the Amended Complaint.

       9.      Interamerican denies Paragraph 9 of the Amended Complaint, except Interamerican

admits to having received partial payments for services rendered to PDV USA, Inc. under the

Agreement.

       10.     Interamerican denies Paragraph 10 of the Amended Complaint as to the allegations

that it failed to “perform under the Agreement,” but admits claiming the balance due under the

Agreement of $30 Million.

       11.     Interamerican denies Paragraph 11 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement.

       12.     Interamerican denies Paragraph 12 of the Amended Complaint to the extent it

purports to be premised upon any legitimate basis for liability for recovery.

       13.     Interamerican denies Paragraph 13 of the Amended Complaint to the extent it

purports to be premised upon any “alternative” for liability or recovery. Further, Interamerican



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denies having breached the Agreement or any liability for disgorgement. Rather, PDV USA, Inc.

breached the Agreement by failing to pay Interamerican $30 Million lawfully due under the

Agreement.

                                    AS TO “THE PARTIES”

       14.     Interamerican denies having knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in Paragraph 14 of the Amended Complaint.

       15.     Interamerican admits the allegations set forth in the first two sentences in paragraph

15 of the Amended Complaint. Interamerican admits that David Rivera is the president and

registered agent of Interamerican. Interamerican denies that Interamerican has two employees and

that Diana Rivera McKenzie is an employee or vice president of Interamerican.

                           AS TO “JURISDICTION AND VENUE”

       16.     Interamerican admits Paragraph 16 of the Amended Complaint for jurisdictional

purposes only under 28 U.S.C. § 1332.

       17.     Interamerican admits Paragraph 17 of the Amended Complaint only for

establishing venue in the U.S. District Court for the Southern District of New York.

       18.     Interamerican denies Paragraph 18 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement.

                            AS TO “FACTUAL BACKGROUND”

As to “The Terms of the Agreement”

       19.     Interamerican admits that on March 21, 2017, the Interamerican and PDV USA Inc.

entered the Agreement which states “strategic consulting services.” Otherwise, Interamerican

denies having knowledge or information sufficient to form a belief as to the truth of the allegations

set forth in parentheses ( ) in Paragraph 19 of the Amended Complaint. Interamerican denies



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Paragraph 19 of the Amended Complaint to the extent it alters, varies, or contradicts the

Agreement.

       20.     Interamerican denies Paragraph 20 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement.

       21.     Interamerican denies Paragraph 21 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement.

       22.     Interamerican denies Paragraph 22 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement.

       23.     Interamerican denies Paragraph 23 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement. Interamerican further denies the word “CLIENT” refers to

PDVSA.

       24.     Interamerican denies Paragraph 24 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement. Interamerican further denies the word “CLIENT” refers to

PDVSA, but admits the Agreement identified Pio Gonzalez as the “authorized representative” for

PDV USA, Inc. to whom progress reports were sent.

       25.     Interamerican denies Paragraph 25 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement.

       26.     Interamerican denies Paragraph 26 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement.

       27.     Interamerican denies Paragraph 27 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement.

       28.     Interamerican denies Paragraph 28 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement.



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       29.     Interamerican denies Paragraph 29 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement.

       30.     Interamerican denies Paragraph 30 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement.         Interamerican denies that PDV USA, Inc’s “sole

satisfaction” could have been unreasonably withheld or, in fact, was ever withheld.

       31.     Interamerican denies Paragraph 31 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement. Interamerican further denies that it breached the Agreement.

       32.     Interamerican denies Paragraph 32 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement. Interamerican further denies that it breached the Agreement.

       33.     Interamerican denies Paragraph 33 of the Amended Complaint.

       34.     Interamerican denies Paragraph 34 of the Amended Complaint.

       35.     Interamerican denies Paragraph 35 of the Amended Complaint, except

Interamerican admits submitting all required reports to an authorized representative for PDV USA,

Inc.

       36.     Interamerican admits submitting all required reports, but denies PDV USA, Inc.’s

characterization of the reports in Paragraph 36 of the Amended Complaint. Interamerican further

denies that the level of detail in the reports failed to comply with the Agreement, or that it otherwise

had failed to inform PDV USA, Inc. of the efforts undertaken.

       37.     Interamerican admits submitting all required reports, but denies PDV USA, Inc.’s

characterization of the reports in Paragraph 37 of the Amended Complaint. Interamerican further

denies that the level of detail in the reports failed to comply with the Agreement, or that it otherwise

had failed to inform PDV USA, Inc. of the efforts undertaken.




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       38.     Interamerican admits submitting all required reports, but denies PDV USA, Inc.’s

characterization of the reports in Paragraph 38 of the Amended Complaint. Interamerican further

denies that the level of detail in the reports failed to comply with the Agreement or that it otherwise

had failed to inform PDV USA, Inc. of the efforts undertaken.

       39.     Interamerican denies Paragraph 39 of the Amended Complaint. Interamerican

further denies it failed to provided services for which engaged by PDV USA, Inc. Finally,

Interamerican denies the alleged “purpose” stated by PDV USA, Inc.

       40.     Interamerican denies Paragraph 40 of the Amended Complaint.

       41.     Interamerican denies Paragraph 41 of the Amended Complaint. Interamerican

further denies PDV USA, Inc. ever expressed any dissatisfaction with Interamerican’s

performance under the Agreement. In fact, PDV USA, Inc. demonstrated satisfaction with

Interamerican’s performance under the Agreement.

       42.     Interamerican denies Paragraph 42 of the Amended Complaint.

       43.     Interamerican denies Paragraph 43 of the Amended Complaint. Interamerican

further denies PDV USA, Inc.’s characterization of any alleged statement attributed to David

Rivera. Finally, Interamerican denies any such alleged statement connotes any violation of the

Agreement.

       44.     Interamerican admits receiving payments under the Agreement but denies the

allegation in Paragraph 44 of the Amended Complaint that it failed to provide the contracted-for

services.

       45.     Interamerican admits Paragraph 45 of the Amended Complaint.

       46.     Interamerican admits Paragraph 46 of the Amended Complaint.




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       47.    Interamerican admits receiving payments totaling $20 Million under the

Agreement. Otherwise, Interamerican denies the allegations of Paragraph 47 of the Amended

Complaint.

       48.    Interamerican admits PDV USA, Inc. has failed to pay the balance due under the

Agreement totaling $30 Million. Otherwise, Interamerican denies the allegations of Paragraph 48

of the Amended Complaint.

       49.    Interamerican admits demanding payment of the balance due under the Agreement

totaling $30 Million. Otherwise, Interamerican denies the allegations of Paragraph 49 of the

Amended Complaint.

       50.     Interamerican admits asserting its right to enforce Agreement and demands the

balance due thereunder totaling $30 Million. Otherwise, Interamerican denies the allegations of

Paragraph 50 of the Amended Complaint

       51.    Interamerican admits refusing to consent to the Assignment and Assumption

Consent Agreement annexed to the Amended Complaint. Otherwise, Interamerican denies the

allegations of Paragraph 51 of the Amended Complaint.

       52.    Interamerican denies having knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in Paragraph 52 of the Amended Complaint; however,

Interamerican admits the purported Assignment and Assumption Consent Agreement lacked

enforceability. Moreover, Interamerican asserts that PDV USA, Inc. remains liable under the

Agreement.

       53.    Interamerican denies having knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in Paragraph 53 of the Amended Complaint; however,

Interamerican admits the purported Assignment and Assumption Consent Agreement lacked



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enforceability.     Moreover, Interamerican asserts PDV USA, Inc. remains liable under the

Agreement.

       54.        Interamerican admits Paragraph 54 of the Amended Complaint to the extent the

purported Assignment and Assumption Consent Agreement lacked enforceability.

       55.        Interamerican admits Paragraph 55 of the Amended Compliant, and further asserts

continuing to contest the enforceability of the Assignment and Assumption Consent Agreement.

       56.        Interamerican denies having knowledge or information sufficient to form a belief

as to the truth of the allegations set forth in Paragraph 56 of the Amended Complaint; however,

Interamerican admits the purported Assignment and Assumption Consent Agreement lacked

enforceability. Moreover, Interamerican asserts that PDV USA, Inc. remains liable under the

Agreement.

       57.        Interamerican denies Paragraph 57 of the Amended Complaint.

       58.        Interamerican denies Paragraph 58 of the Amended Complaint. Interamerican

further denies the characterization of any alleged statement attributed to David Rivera.

       59.        Interamerican denies Paragraph 59 of the Amended Complaint. Interamerican

further denies the characterization of any alleged statement attributed to David Rivera.

       60.        Interamerican denies Paragraph 60 of the Amended Complaint. Interamerican

further denies the characterization of the so-called “claims,” and the attribution of “credulity,” or

the lack thereof, as alleged in Paragraph 60.

       61.        Interamerican denies Paragraph 61 of the Amended Complaint. Interamerican

further denies the characterization of the use of funds and any assertion that the progress reports

submitted contained false statements.




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       62.     Interamerican denies Paragraph 62 of the Amended Complaint. Interamerican

further denies that the Agreement was a “sham.”

       63.     Interamerican denies Paragraph 63 of the Amended Complaint to the extent it alters,

varies, or contradicts the Agreement.

       64.     Interamerican admits and denies Paragraph 64 of the Amended Complaint in the

same manner as the preceding Paragraphs incorporated therein by reference.

       65.     Interamerican admits Paragraph 65 of the Amended Complaint.

       66.     Interamerican denies Paragraph 66 of the Amended Complaint.

       67.     Interamerican denies Paragraph 67 of the Amended Complaint.

       68.     Interamerican denies Paragraph 68 of the Amended Complaint.

       69.     Interamerican admits and denies Paragraph 69 of the Amended Complaint in the

same manner as the preceding Paragraphs incorporated therein by reference.

       70.     Interamerican denies Paragraph 70 of the Amended Complaint.

       71.     Interamerican denies Paragraph 71 of the Amended Complaint.

       72.     Interamerican denies Paragraph 72 of the Amended Complaint.

       73.     Interamerican admits and denies Paragraph 73 of the Amended Complaint in the

same manner as the preceding Paragraphs incorporated therein by reference.

       74.     Interamerican denies Paragraph 74 of the Amended Complaint.

       75.     Interamerican denies Paragraph 75 of the Amended Complaint.

       76.     Interamerican denies Paragraph 76 of the Amended Complaint. PDV USA, Inc.

actually paid Interamerican $20 Million.

       77.     Interamerican denies Paragraph 77 of the Amended Complaint.

       78.     Interamerican denies Paragraph 78 of the Amended Complaint.



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       79.     Interamerican admits and denies Paragraph 79 of the Amended Complaint in the

same manner as the preceding Paragraphs incorporated therein by reference.

       80.     Interamerican denies Paragraph 80 of the Amended Complaint, except

Interamerican admits PDV USA, Inc. has failed and refused to pay the balance due under the

Agreement totaling $30 Million.

       81.     Interamerican denies Paragraph 81 of the Amended Complaint.

       82.     Interamerican denies Paragraph 82 of the Amended Complaint.

       83.     Interamerican denies Paragraph 83 of the Amended Complaint.

       84.     Interamerican denies Paragraph 84 of the Amended Complaint.

                                      GENERAL DENIAL

       Defendant denies all allegations contained in the Complaint (including headings and

captions) not specifically admitted in this Answer.

                                          DEFENSES

       Defendant asserts the following defenses and reserves the right to assert other defenses or

claims when and if they become appropriate and/or available in this action and hereby reserves all

rights to amend and/or supplement all defenses set forth herein. The statement of any defense

herein does not assume the burden of proof for any issue as to which the applicable law places the

burden of proof on Plaintiff.

                                FIRST AFFIRMATIVE DEFENSE
                                   (Discharge by Prior Breach)

       PDV USA, Inc.’s prior breach of the Agreement in failing and refusing to pay

Interamerican the amounts due under the Agreement excused and discharged Interamerican from

further having to perform under the Agreement.




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                                      SECOND DEFENSE
                                          (Waiver)

       PDV USA, Inc. waived any alleged failure by Interamerican to performance its obligations

under the Agreement by failing to object to any such nonperformance, failing to declare a default,

and failing to terminate the Agreement.

                                       THIRD DEFENSE
                                         (Ratification)

       PDV USA, Inc., with knowledge and assent, ratified and accepted any performance by

Interamerican under the Agreement notwithstanding any alleged failure to Interamerican to

perform its obligations.

                                      FOURTH DEFENSE
                                          (Estoppel)

       Plaintiff’s claims are barred by the doctrine of estoppel.

                                       FIFTH DEFENSE
                                           (Laches)

       Plaintiff’s claims are barred by the doctrine of laches.

                                       SIXTH DEFENSE
                                        (Unclean Hands)

       Plaintiff’s claims are barred by the doctrine of unclean hands.

                                     SEVENTH DEFENSE
                                       (Express Contract)

       Plaintiff’s claims for unjust enrichment fails because there is an express contract between

PDV USA and Interamerican.

                                      EIGHTH DEFENSE
                                     (Mitigation of Damages)

       Plaintiff’s claims are barred because, and to the extent, it failed to mitigate its alleged

damages.

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                                    PRAYER FOR RELIEF

       WHEREFORE, Defendant prays for relief and judgment, as follows:

       A.      Denying Plaintiff’s prayer for relief;

       B.      Entering judgment for Defendant;

       C.      Dismissing the Complaint with prejudice;

       D.      Granting Defendant such other and further relief to which it may be entitled, or

               which the Court deems just and proper.

                                       COUNTERCLAIM

       Defendant/Counter-Plaintiff, Interamerican Consulting, Inc. (“Interamerican”), sues

Plaintiff/Counter-Defendant PDV USA, Inc. (“PDV USA”), and alleges:

                                       INTRODUCTION

       1.      With the intent of improving its standing in the United States, Citgo Petroleum

Corporation (“Citgo”) was interested in hiring Interamerican as a consultant to develop a strategic

plan to create a separate and distinct identity and to disengage from its ultimate parent, Petroleos

de Venezuela, S.A. (“PDVSA”)—an oil and natural gas company owned and controlled by the

Bolivarian Republic of Venezuela. Citgo specially sought out Interamerican and its principal,

former U.S. Congressman David Rivera, because of his exceptional experience, expertise, and

skills in the U.S. public and private sectors. To entice Interamerican to accept the engagement,

Citgo offered to pay the sum of $50 Million. Considering the billions of dollars at stake with

Citgo’s public and business stature in jeopardy, Citgo obviously deemed the fee reasonable

because the proposed fee originated from Citgo without prompting or input from Interamerican.

       2.      After some discussions, Interamerican and Citgo, acting through its affiliate PDV

USA, entered into an agreement on March 21, 2017, for Interamerican to provide these strategic



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planning consulting services for the benefit of Citgo. Interamerican accepted the unsolicited

engagement and began performing the required consulting services. At no time did Citgo ever

express dissatisfaction with Interamerican’s performance. Indeed, not until Interamerican refused

to allow the agreement to be assigned from PDV USA to PDVSA—a move which would have

undermined Interamerican’s strategic recommendation that Citgo emphasize its independent

identity from its Venezuelan parent—did Interamerican experience any resistance from PDV USA

to make the payments due. Even then, PDV USA never notified Interamerican of any alleged

dissatisfaction, never declared Interamerican in default, and never even terminated or revoked the

agreement.   As an enticement (and as a clear indication of PDV USA’s satisfaction with

Interamerican’s performance), Interamerican was offered to be paid the balance of the

agreement—then totaling $35 Million—in advance of the contractually mandated payment

schedule if Interamerican simply consented to the assignment of the agreement from PDV USA to

PDVSA. When that enticement did not persuade Interamerican, an additional $5 Million payment

was made, but Interamerican still refused to relent on the issue of contract assignment.

       3.      Only after Interamerican refused all entreaties and would not consent to the

assignment request did problems with the agreement arise. First, PDV USA failed to make the

remaining payments due under the agreement, prompting Interamerican to make repeated demands

for payment. Thereafter, attempting an obvious preemptive strike, PDV USA filed the instant

action (almost three years after Interamerican refused to consent to the assignment), for the first

time making unsubstantiated allegations of breach.

       4.      PDV USA, not Interamerican, breached the agreement. Interamerican owes PDV

USA nothing under the agreement. Rather, PDV USA owes Interamerican the balance due under

the agreement totaling $30 Million.



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                             JURISDICTION AND THE PARTIES

       5.      This is a compulsory counterclaim under Fed. R. Civ. P. 13(a) because it arises out

of the transaction or occurrence that is the subject matter of PDV USA’s Amended complaint and

does not require adding another party over whom the Court cannot acquire jurisdiction.

       6.      The parties are citizens of different states and the amount in controversy exceeds

$75,000, exclusive of interest, costs, and attorneys’ fees.

       7.      Counterdefendant PDV USA is a corporation incorporated in Delaware with its

principal place of business in New York, New York.

       8.      Counterplaintiff Interamerican is a corporation incorporated in Florida with its

principal place of business is principal place of Miami, Florida.

                                  FACTUAL BACKGROUND

       9.      In March of 2017, Citgo contacted Interamerican to potentially hire it as a strategic

planning consultant to develop an independent identity and to disengage from its Venezuelan

parent. Citgo hoped that this would improve Citgo’s standing in the United States.

       10.     The president of Interamerican, David Rivera, proved to be the perfect person for

the consulting role. As a former U.S. Congressman with more than 20 years of experience in

governmental affairs and strategic planning (which includes previously working for the U.S. State

Department and serving as an elected official at the state and local levels), Rivera had the

experience, expertise, and skills to help Citgo implement a strategic plan to develop an independent

identity and to disengage from its Venezuelan parent.

       11.     After several unsolicited phone calls and emails discussing the scope of the

engagement, Citgo informed Interamerican that it wanted to proceed with entering into a

consulting agreement. Citgo, however, entered into the contract using one of its U.S.-based



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affiliates PDV USA. Citgo then prepared the draft agreement in its entirety and sent it to

Interamerican for its review and consideration.

        12.     On March 21, 2017, Interamerican accepted Citgo’s draft agreement with no

changes. Interamerican and PDV USA signed the agreement and started the contractual

relationship between Citgo and Interamerican (“Agreement”). A copy of the Agreement is attached

as Exhibit “A.”

        13.     Under the Agreement, PDV USA agreed to pay Interamerican $50 million dollars

in exchange for Interamerican’s strategic planning consulting services for the benefit of Citgo to

develop an independent identity for Citgo and to disengage from its Venezuelan parent, which in

turn, would improve Citgo’s standing in the United States.

        14.     Interamerican provided all the consulting services contemplated under the

Agreement, including setting up, facilitating, and participating in critical business

communications, as well as providing all required reports discussing the activities that

Interamerican performed during each reporting period to achieve the goals and purposes of the

Agreement.

        15.     Despite providing all the services for the benefit of Citgo under the Agreement,

PDV USA failed to pay the remaining $30 million owed under the Agreement.

        16.     All conditions precedent to the filing of this action have occurred, been waived, or

have otherwise been excused.

                                            Count One
                                      (Breach of Contract)
        17.     Interamerican repeats and restates the allegations in all the preceding paragraphs as

if fully set forth herein.




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        18.     Interamerican entered into the Agreement under which Interamerican agreed to

perform certain consulting services to PDV USA for the benefit of Citgo in exchange for PDV

USA’s agreement to pay Interamerican $50 million.

        19.     Even though Interamerican provided all the services to PDV USA for the benefit

of Citgo under the Agreement, PDV USA only paid $20 million and refused to pay the remaining

$30 million.

        20.     As a result of PDV USA’s refusal to pay the remaining $30 million, PDV USA

breached the Agreement.

        21.     As a direct and proximate result of PDV USA’s breach, Interamerican has incurred

direct and consequential damages.

                                           Count Two
                                       (Unjust Enrichment)

        22.     Interamerican repeats and restates the allegations in all the preceding paragraphs as

if fully set forth herein.

        23.     Interamerican pleads this claim for unjust enrichment in the alternative should there

be a finding that no relevant contract exists that covers the issues in this case.

        24.     PDV USA has been enriched because of Interamerican’s services.

        25.     The enrichment was at Interamerican’s expense.

        26.     The circumstances are such that equity and good conscience require PDV USA to

make restitution.

                                           Count Three
                                      (Declaratory Judgment)

        27.     Interamerican repeats and restates the allegations in all the preceding paragraphs as

if fully set forth herein.



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       28.     An actual and ripe controversy exists between the parties in that PDV USA has

asserted, and will continue to assert, that Interamerican breached the Agreement by not providing

all the services required under the Agreement and that Interamerican must therefore return the

funds it previously paid to Interamerican.

       29.     Interamerican’s asserts that it provided all the services required under the

Agreement, entitling it to retain the $20 million that PDV USA previously paid to Interamerican,

and that PDV USA owes Interamerican the remaining balance of $30 million.

       30.     Interamerican and PDV USA have adverse legal interests of sufficient immediacy

and reality to warrant the issuance of a declaratory judgment on the disputed matters raised herein.

       31.     Interamerican has a right to a declaration under 28 U.S.C § 2201, C.P.L.R § 3001,

and Fed. R. Civ. P. 57, that PDV USA owes Interamerican $30 million because PDV USA

breached the Agreement.

                                        Prayer for Relief

       Wherefore, Interamerican requests that the Court:

               a.      Adjudge and decree finding PDV USA liable for breach of contract or

               unjust enrichment;

               b.      Declare that PDV USA owes Interamerican $30 million;

               c.      Enter judgment against PDV USA in favor of Interamerican for damages in

               the principal sum of $30 million (plus interest), and award any further

               compensatory damages (plus interest) at an amount to be determined at trial, and

               awards expenses and costs; and

               d.      grant such further relief as the Court deems just and proper.




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                                       JURY DEMAND

      Interamerican hereby demands a trial by jury on all issues raised in the counterclaim herein.

Dated: August 19, 2021

      New York, New York


                                               s/ Tucker H. Byrd
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